           Case 3:24-bk-00496-BAJ     Doc 53-25     Filed 04/04/24   Page 1 of 5




                                 EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:     Mary Ida Townson, U.S. Trustee for Region 21


Admitted:             YES        or NO        (circle one)                     189


Chapter 11 Debtor:    Genie Investments NV, Inc.


Case No.              3:24íENííBAJ


Nature of Hearing:    Trial on

                      U.S. Trustee’s Motion to Appoint Chapter 11
                      Trustee, or, in the Alternative, Appoint
                      Examiner, Dismiss Case, or Convert Case to
                      Chapter 7 (Doc. No. )

                      Debtor’s Response Thereto (Doc. No. 34)

                      U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:           April 94, at 9DP




                            United States Bankruptcy Court
                              Middle District of Florida

                     Dated: ___________________________, 24.


                     By: _______________________, Deputy Clerk
          Case 3:24-bk-00496-BAJ                 Doc 53-25            Filed 04/04/24   Page 2 of 5


From:           Preet Patel
To:             Morris, Benjamin J.
Subject:        Fwd: Return of ICA deposits for loans 2815 and 2816
Date:           Monday, December 11, 2023 5:29:20 PM
Attachments:    Outlook-1n5eag04.png
                Outlook-ir5cb5kz.png
                Outlook-t1jqcfp5.png
                Outlook-jfrx2r0z.png


** EXTERNAL EMAIL MESSAGE **


Regards,
Preet S. Patel M.D.


PGY-2
Duke University Medical Center
Department of Interventional Radiology - 2028
#: 605-321-3072 | Pager: 206-9356


From: Walt Trock <wtrock@mcmanncapital.com>
Sent: Tuesday, October 17, 2023 11:45:24 AM
To: David from Genie Investments <dhughes@genieinvestments.com>; David Hughes
<david@zoomeral.com>
Cc: Dan Klapman <dklapman@swkattorneys.com>; John from Genie Investments
<jmcohan@genieinvestments.com>; Preet Patel <preet.patel@duke.edu>
Subject: Return of ICA deposits for loans 2815 and 2816

What Genie is offering in this email has nothing to do with the return of ICA deposits that
Genie has already committed to refunding and then after the declared wire date an excuse was
offered why the ICA deposit of $3.6MM could not be refunded.

I am referring to loans #2815 & 2816. There is no acceptable excuse for not refunding the full
amount of an ICA deposit made with the applicant's own funds into a fiduciary account which
is holding the ICA deposit.

Please respond with the wire confirmation of the entire amount of $3.6MM being refunded
immediately to the above-mentioned applicants that have been extremely cooperative in
working with Genie Investments and complying with Genie's demands of withdrawal by the
applicant.

Walt Trock
McMann Commercial Lending

Get Outlook for iOS

From: David from Genie Investments <dhughes@genieinvestments.com>
         Case 3:24-bk-00496-BAJ           Doc 53-25       Filed 04/04/24      Page 3 of 5


Sent: Tuesday, October 17, 2023 9:24:51 AM
To: Walt Trock <wtrock@mcmanncapital.com>; David Hughes <david@zoomeral.com>
Cc: Dan Klapman <dklapman@swkattorneys.com>; John from Genie Investments
<jmcohan@genieinvestments.com>
Subject: (Response) Settlement request on Log Cabin Building LLC loan 2520

Walt,

After thought and discussion with other Genie management. Here is our position on the
matter. As you are aware, Genie is conducting an opt-in refund program for any client that
sent Genie non-refundable due diligence and non-refundable bridge interest. This opt-in
program is the only type of refund program we will consider at this time. It is McMann's
responsibility to make sure that every one of McMann's clients has been offered this opt-in
agreement we are offering. If you need more time, then Genie will allow a grace period as
long as we are able but please understand that settlement and refund discussions are taking
place currently with our capital provider so time is of the essence, to say the least. As you are
also aware, Genie has no obligation to refund any of these fees but we have made the
decisionok to hold our capital provider accountable for these refunds due to their funding
delay. Any refunds will rely upon Genie actually realizing funds from our capital provider. If
settlement or legal proceedings produce nothing realized, then Genie will not be able to offer
any refunds at all. If half of the capital is realized, then Genie will provide half with each client
pro-rata.

MOST IMPORTANTLY: Genie needs your help. On many occasions, we have requested, both
verbally and in writing, that you audit your accounts and specifically your customers who paid
Genie non-refundable due diligence fees but did not follow through with a bridge loan. There
are approximately 15 of these accounts as you are well aware. We need a complete list from
you of every client that sent us due diligence and then did not engage with a bridge. There
seems to be much confusion. We have heard that some clients of yours filled out a bridge
agreement with Genie, however, someone at McMann deleted Genie's wiring instructions and
then replaced them with McMann wiring instructions. In addition, we have heard that
McMann, in some cases, took Genie's name off of some bridge loan agreements in its entirety
and had McMann clients wire McMann bridge interest for McMann Bridges. So, to make this
simple, please email back with a list of any of your clients that sent in Due Diligence and Bridge
Interest along with their supporting wire receipts and executed agreements. Genie will then
compare to our list and make sure that no customer is left out. We have our audit list but
having yours, and comparing ours to yours would be the responsible thing to do for all clients.

Finally, until such time as all of these matters are cleared up, please be advised that neither
ZOOMERAL or Genie will be accepting any new accounts/clients from McMann Commercial
Lending or any other company you are currently affiliated with. Please understand that this is
not to be interpreted as negative, it's just that these matters need to be understood and
             Case 3:24-bk-00496-BAJ        Doc 53-25       Filed 04/04/24      Page 4 of 5


cleaned up before we can consider doing any more business with the companies you operate.

Sincerely,


David Hughes
Genie Investments, Director



A Word of Caution to Sellers & Buyers Business is based on trust. Genie Investments (Genie) is acting
solely as Consultants, Genie does not accept any liability on behalf of Sellers or Buyers or their
associated Facilitators and/or Intermediaries. Genie advises Buyers and Sellers to take the course of
wisdom and perform full verification & due diligence on their own before going into any opportunity.
DISCLAIMER: The sender (dhughes@genieinvestments.com) is NOT a United States Securities Dealer
or Broker or U.S. Investment Advisor. The sender is a Consultant and makes no warranties or
representations as to the Buyer, Seller, or Transaction. All due diligence is the responsibility of the
Buyer and Seller. This E-mail letter and the attached related documents are never to be considered a
solicitation for any purpose in any form or content. Upon receipt of these documents, the Recipient
hereby acknowledges this Disclaimer. If acknowledgment is not accepted, the Recipient must return
any and all documents in their original receipted condition to the Sender. This electronic
communication is covered by the Electronic Communications Privacy Act of 1986, Codified at 18
U.S.C 1367,2510-2521,2701-2710 AS PER GRAMM-LEACH-BLILEY ACT 15 USC, SUBCHAPTER I, SEC
6801-6809 DISCLOSURE OF NONPUBLIC PERSONAL INFORMATION. Also
see: http://www.ftc.gov/privacy/glbact/glbsub1.htm
PRIVATE AND CONFIDENTIAL: This communication may contain privileged and/or confidential
information. It is intended solely for the use of the addressee. If you are not the intended recipient,
you are strictly prohibited from disclosing, copying, distributing, or using any of this information.
Please inform the sender if you have received this email in error.
This email is not a solicitation or recommendation to buy, sell, or hold securities. This email is meant
for informational and educational purposes only and does not provide investment advice.




From: Walt Trock <wtrock@mcmanncapital.com>
Sent: Thursday, October 5, 2023 7:42 PM
To: David Hughes <david@zoomeral.com>; David from Genie Investments
<dhughes@genieinvestments.com>
Cc: Dan Klapman <dklapman@swkattorneys.com>
Subject: Settlement request on Log Cabin Building LLC loan 2520

See Attached letter to settle this matter out of court. Your assistance and support is greatly
appreciated.

Walt Trock
Corporate 312-416-0352
          Case 3:24-bk-00496-BAJ   Doc 53-25   Filed 04/04/24   Page 5 of 5


Direct 224-532-6116
Managing Director
mcmanncapital.com
Quick Commercial Loan Approval
Calander Appointment
